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                             EXHIBIT 4
Jeremy D. Anderson | Attorney - Wilmington, DE | Fish                     Page 1 of 4
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                                                  Jeremy D. Anderson
                                                  Principal
                                                   Wilmington, DE  302-778-8452  janderson@fr.com




  Background
  Jeremy Anderson, a principal in the Delaware office of Fish & Richardson, leads and tries corporate and complex commercial cases in
  the Delaware Court of Chancery, a non-jury court that is recognized internationally as the preeminent forum for resolving corporate and
  technology disputes. Mr. Anderson also litigates matters involving intellectual property rights, including patent, trademark, copyright,
  and misappropriation of trade secrets.

  Mr. Anderson’s practice emphasizes technology-related cases that are brought to protect and defend the intellectual property of
  companies and stockholders across many industry sectors such as life sciences, computer software, consumer products,
  manufacturing, and media and entertainment, to name a few. For example, he has successfully represented clients in stockholder
  derivative lawsuits, temporary restraining orders, preliminary injunctions, and breaches of contract related to license agreements, the
  fraudulent transfer of intellectual property, and patent and trademark infringement.

  As the head of Fish & Richardson’s Corporate Governance and Chancery Litigation Practice, Mr. Anderson also represents
  corporations in high-profile cases involving mergers and acquisitions, stock appraisal rights, indemnification of officers and directors,
  demands for inspection of corporate books and records, and disputes involving members of Delaware limited liability companies and
  Delaware limited partnerships.

  Mr. Anderson is the co-author of Technology Litigation in the Delaware Court of Chancery, a treatise that
  provides comprehensive analysis of technology-related claims such as breach of fiduciary duty, misappropriation of trade secrets,
  breach of contract, unfair competition, civil conspiracy, and aiding and abetting. He is a thought leader on stock appraisal actions, and
  has authored articles that have been quoted in the Wall Street Journal, New York Times, Financial Times and Bloomberg. He frequently
  contributes to Fish & Richardson’s commercial litigation blog.

  Mr. Anderson is a member of the Delaware State Bar Association, and currently serves as Chairman of the Corporate Counsel Section.
  He founded the Delaware Chapter of the J. Reuben Clark Law Society, a service organization that strives to promote fairness and
  virtue founded on the rule of law. Mr. Anderson has also been named by Super Lawyers as a “Delaware Super Lawyer” for Business
  Litigation, and by IAM Patent 1000 as a “Leading Patent Professional” in multiple years.



  Services
   • Litigation
   • Chancery and Corporate Governance
   • Commercial Litigation
   • Patent Litigation
   • Trade Secret Litigation
   • Trademark, Copyright, and Media Litigation




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  Industries
   • Academic Research and Medical Centers
   • Aerospace and Defense
   • Chemicals
   • Cleantech
   • Consumer Products
   • Digital Health
   • Digital Media and E-Commerce
   • Electrical and Computer Technology
   • Energy and Petro-Chemical
   • Financial and Business Services
   • Internet
   • Life Sciences
   • Manufacturing
   • Medical Devices
   • Nanotechnology
   • Telecommunications
   • Transportation



  Education
  J.D., Georgetown University Law Center 2002
  Senior Editor, Law and Policy in International Business



  B.A., Brigham Young University 1997
  English
  cum laude



  Admissions
   • Delaware
   • District of Columbia
   • U.S. District Court for the District of Columbia
   • U.S. Court of Appeals for the Third Circuit
   • Supreme Court of the United States



  Clerkships
  United States District Court for the District of Delaware, The Honorable Kent A. Jordan, 2003 - 2004



  Memberships & Affiliations
  Delaware State Bar Association, current Chair of the Corporate Counsel Section, past Executive Committee Member


  Delaware Public Integrity Commission, appointed as a Commissioner (2011-2018) by Governor Jack Markell


  American Bar Association


  American Intellectual Property Lawyers Association




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  Federal Bar Association


  Richard S. Rodney Inn of Court



  Other Distinctions
  Named to “The Best Lawyers in America” list by The Best Lawyers in America© (2019).

  Recognized by Super Lawyers as a Rising Star (2012-2013) and a Delaware Top-Rated Business Litigation Lawyer (2016-2018).

  Named to IAM Patent 1000: The World’s Leading Patent Professionals list (2017-2018).

  Speaking Engagements

  Moderator: “Federalism and Its Impact on Dispute Resolution” with Judge Thomas L. Ambro, U.S. Court of Appeals for the Third
  Circuit Judge Kent A. Jordan, U.S. Court of Appeals for the Third Circuit, Judge Cheryl Ann Krause, U.S. Court of Appeals for the Third
  Circuit, Judge William C. Carpenter, Jr., Delaware Superior Court, Judge Joseph M. Cosgrove, Commonwealth Court of Pennsylvania,
  and Vice Chancellor Joseph R. Slights III, Delaware Court of Chancery, 2017 J. Reuben Clark Law Society Annual Conference
  (February 17, 2017 – Philadelphia, PA).

  Speaker: The Interplay of Patents and Trade Secrets: In the Wake of the American Invents Act and Supreme Court Decisions, Why
  Companies Should Look to Trade Secret Law, AIPLA Trade Secrets Section Annual Meeting (December 2014 – Menlo Park, CA).




  Experience
  Alternative Dispute Resolution

   • In re XTend Medical Corp., Consol. C.A. No. 5478-VCS (Del. Ch. 2010)


  “Busted Deal” Litigation

   • Merisel, Inc. v. American Capital Strategies, LTD, C.A. No. 3845-VCN (Del. Ch. 2009)
   • Rohm & Haas Co. v. Dow Chemical Co., C.A. No. 4309-CC (Del. Ch. 2009)


  Complex Commercial Litigation

   • Roseton OL LLC v. Dynegy Holdings, Inc., C.A. 6689-VCP (Del. Ch. 2011)
   • Pfizer Inc. v. Mylan Pharmaceuticals Inc., C.A. No. 11-00269-LPS(D. Del. 2011)
   • Collections Marketing Center, Inc. v. Apollo Enterprise Solutions, Inc., C.A. No. 5331-VCP (Del. Ch. 2011)
   • Mitsubishi Power Systems Americas Inc. v. Babcock & Brown Infrastructure Group, C.A. No. 4499-VCL (Del. Ch. 2010)
   • Rohm & Haas Co. v. Smith, No. 08-29229 (Pa. Ct. C.P. 2008)
   • GE Funding Holdings, Inc. v. FGIC Corp., C.A. No. 4012-CC (Del. Ch. 2008)
   • Young v. Klaassen, C.A. No. 2770-VCL (Del. Ch. 2008)


  Partnership, LP & LLC Disputes

   • In re Alternative Strategies LLC v. O’Connell, C.A. No. 5452-VCS (Del. Ch. 2010)
   • Fleischer v. MacQaurie Invest., Inc., C.A. No. 5391-CC (Del. Ch. 2010)


  Patent Litigation

   • Mosaid Technologies Inc. v. International Business Machines Corporation, C.A. No. 09-00510-GMS (D. Del. 2009)
   • St. Clair Intellectual Property Consultants, Inc. v. Research In Motion Ltd., C.A. No. 08-371-GPS (D. Del. 2008)
   • Netcraft Corporation v. AT&T Inc., C.A. No. 07-00651-GMS(D. Del. 2007)




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  Statutory Actions (Appraisal, Indemnification, Demand for Books and Records)

  Appraisal of Stock

  In re Appraisal of The Aristotle Corp., C.A. No. 5137-VCS (Del. Ch. 2010)
  Clark v. Esurance Inc., C.A. No. 2393-VCN (Del. Ch. 2008)
  Cede & Co. v. Penn Engineering & Mfg. Corp., 2007 WL 7076659 (Del. Ch. July 17, 2007)Demand for Books and Records
  Rock Solid Gelt Ltd. v. The SmartPill Corporation, C.A. No. 7100-VCN (Del. Ch. 2012)
  Texas Torah Inc. v. Alliance Distributors Holding, C.A. No. 5951-VCL (Del. Ch. 2011)

  Carefree LLC v. Datatreasury Corp., C.A. No. 5543-VCN (Del. Ch. 2010)
  Seinfeld v. Verizon Commn’s Inc.,No. 624,2005 (Del. 2006)
  Niagara Corp. v. Wynnefield Partners Small Cap Value Inc., No. 385,2006 (Del. 2006)Indemnification/Advancement

  Southpac Trust International, Inc. v. Crutcher-Tufts Resources, L.P., C.A. No. 4315-VCS (Del. Ch. 2010)
  Barrett v. American Country Holdings Inc., C.A. No. 3071-VCS (Del. Ch. 2008)
  CMN Inc. v. Colliers International Property Consultants USA, Inc., C.A. No. 3057-VCL (Del. Ch. 2007)

  Stockholder Class Actions and Derivative Suits

   • In re Barnes & Noble Stockholders Deriv. Litig., C.A. No. 4813-VCS (Del. Ch. 2011)
   • Blackthorn Partners, L.P. v. John C. Malone et al., C.A. No. 5260-VCS (Del. Ch. 2011)
   • City of Roseville Employees’ Retirement System v. Horizon Lines, Inc., C.A. No. 08-00969-HB (D. Del. 2010)
   • In re InfoUSA Inc. Shareholders Litigation, C.A. No. 1956-CC (Del. Ch. 2008)




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                                                  Neil J. McNabnay
                                                  Principal
                                                   Dallas, TX  214-292-4051  mcnabnay@fr.com




  Background
  Neil McNabnay is a Principal in the Dallas office of Fish & Richardson. His practice emphasizes patent litigation for clients in diverse
  industries, including software, hardware, transportation, financial services, semiconductors, telecommunications and
  aerospace/defense. Mr. McNabnay has substantial experience serving as defense counsel to multiple clients in large scale patent
  litigation. Previously, Mr. McNabnay was a clerk to The Honorable A. Joe Fish, United States District Court for the Northern District of
  Texas (1997-1998).



  Services
   • Litigation
   • Patent
   • ITC Litigation
   • Patent Litigation


  Industries
   • Aerospace and Defense
   • Financial and Business Services
   • Hardware
   • Semiconductors
   • Software
   • Telecommunications
   • Transportation



  Education
  J.D., University of Michigan Law School 1997
  Executive Editor, Michigan Telecommunications and Technology Law Review
  cum laude



  B.S., University of Michigan 1994
  Aerospace Engineering
  summa cum laude




https://www.fr.com/neil-j-mcnabnay/                                                                                                 12/5/2018
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  Admissions
   • U.S. Patent and Trademark Office 2001
   • Texas 1997
   • U.S. District Court for the Eastern District of Texas
   • U.S. District Court for the Northern District of Texas
   • U.S. District Court for the Southern District of Texas
   • U.S. District Court for the Western District of Texas



  Clerkships
  United States District Court for the Northern District of Texas, The Honorable A. Joe Fish, 1997 - 1998



  Memberships & Affiliations
  Member: Dallas-Ft. Worth Intellectual Property Law Association, Dallas Bar Association.



  Other Distinctions
  Corporate LiveWire Global Awards- Aviation, 2016.


  Selected by peers for inclusion in The Best Lawyers in America© 2015-2019.

  Chosen as a candidate of the America’s Most Honored Professional 2015 Award by The American Registry.

  Corporate LiveWire Global Awards- Intellectual Property and Aerospace & Defense, 2015.

  Named to D Magazine‘s “The Best Lawyers in Dallas” 2015.

  Corporate LiveWire Lawyer of the Year- Aviation, 2014.

  Named a “Texas Rising Star” by Super Lawyers, 2007-2012.



  Experience
  Texas Instruments Incorporated v. Hyundai Electronics Industries Co., Ltd. – Represented TI in three cases in the E.D. Tex. and nine
  others filed around the world 1998. Obtained a settlement, valued at over $1.2 billion, in favor of TI after taking the first of over 30
  semiconductor patents to trial in the E.D. Tex. and winning.

  F&G Scrolling Mouse, LLC. v. IBM Corporation (M.D.N.C. 1999) – Obtained an extremely favorable settlement for IBM in defense of a
  patent infringement suit concerning scrolling mouse technology.

  Alcatel USA, Inc. v. Tekelec, Inc. (E.D. Tex. 2000) – Obtained a favorable settlement for Alcatel by asserting two patents related to the
  routing of query messages by a signal transfer point in a telecommunications network.

  National Presort, Inc. v. Bell & Howell Company Postal Systems, Inc. (N.D. Tex. 2001) – Obtained an extremely favorable settlement for
  Bell & Howell in defense of a patent infringement suit involving mail sorting technology.

  Air Measurement Technologies, Inc. v. Scott Technologies, Inc. (W.D. Tex. 2001) and Air Measurement Technologies, Inc. v. Bacou USA
  Safety, Inc. (W.D. Tex. 2001) – Counsel for Scott and Bacou. Obtained a favorable settlement in defending against five patents relating
  to breathing apparatuses for firefighters.

  Universal Surveillance Systems, Inc. v. Sensormatic Electronics Corporation (S.D. Fla. 2002) – Obtained a jury verdict in favor of
  Sensormatic, including an award of damages and permanent injunction, with respect to a Sensormatic patent covering electronic
  article surveillance tag technology.




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  Texas Instruments Incorporated v. Intergraph Corporation (Two cases in the E.D. Tex. 2003) – Obtained a favorable settlement for TI by
  asserting three patents related to computer clock speed control and an intelligent power switch and defending against three patents
  related to parallel processing.

  Symbol Technologies, Inc. v. Hand Held Products, Inc. v. Avnet, Inc. (D. Del. 2003) – Obtained an extremely favorable settlement for
  Avnet in a patent infringement suit concerning 802.11a/g wireless cards.

  Verve, LLC v. 3M Company (E.D. Tex. 2004) – Obtained an extremely favorable settlement for 3M in defending a patent infringement
  suit involving optical fiber network design.

  Lonestar Inventions, LP v. Marvell Semiconductor, Inc. (W.D. Tex. 2004) – After successfully arguing a motion to transfer to the N.D. Cal.,
  obtained a favorable settlement for Marvell in defense of a patent infringement suit involving a high capacitance structure in a
  semiconductor device.

  Motorola, Inc. and Freescale Semiconductor, Inc. v. Micron Technology, Inc. (W.D. Tex. 2004) – Obtained an extremely favorable
  settlement for Micron in a patent infringement suit involving 34 mobile phone, semiconductor processing, and circuit patents asserted
  by Motorola/Freescale and Micron.

  Wichita Falls Power Management, LLC v. Intel Corporation (N.D. Tex. 2005) – Obtained dismissal for Intel in a patent infringement suit
  involving microprocessor power management.

  TronTech Licensing Incorporated v. Uniden America Corporation (E.D. Tex. 2006) – After invalidating 8 claims based on indefiniteness at
  Markman hearing, obtained favorable settlement for Uniden in patent infringement suit involving cordless telephone answering machine
  technology.

  DDR Holdings, LLC. v. Travelocity.com LP and Site59.com, LLC (E.D. Tex. 2006); DDR Holdings, LLC v. Internetwork Publishing
  Corporation d/b/a Lodging.com and Neat Group Corporation (E.D. Tex. 2006); DDR Holdings, LLC v. Expedia, Inc. and Hotels.com, LP
  (E.D. Tex. 2006) – After reexamination of patents-in-suit, obtained settlements for Travelocity/Site 59, Lodging.com/Neat Group, and
  Expedia/Hotels.com in patent infringement suits involving co-branding and private labeling of a website.

  Constellation IP, LLC (n/k/a Presentation Specialist Technologies, LLC) v. Travelocity.com, LP and Sabre Holdings Corporation (E.D. Tex.
  2006); Constellation IP, LLC v. Travelport, Inc., Orbitz, LLC, Orbitz Away, LLC, Trip Network, Inc. (d/b/a CheapTickets), Galileo International,
  LLC, and LQ Management LLC (E.D. Tex. 2007); and Constellation IP, LLC v. Netflix, Inc., IAC/InterActiveCorp, and Match.com, LLC (E.D.
  Tex. 2007) – Obtained dismissal for Sabre and Travelport, and favorable settlements for Travelocity, Orbitz, CheapTickets, Galileo, La
  Quinta, Netflix, IAC/InterActiveCorp, and Match.com, by defending patent infringement suits concerning an electronic, customized,
  presentation system that creates a visual impression characteristic that the customer associates with the seller.

  Clear with Computers, LLC (f/k/a Orion IP, LLC) v. Isuzu Motors America, Inc. (E.D. Tex. 2007); Clear with Computers, LLC v. Canon
  U.S.A., Inc., Uniden America Corporation, Kohler Co., Callaway Golf Company, Plantronics, Inc., Altec Lansing Technologies, Inc., Haier
  America Trading, LLC, Bed Bath & Beyond, Inc., Buy Buy Baby, Inc., Dillard’s, Inc., The Gap, Inc., Banana Republic LLC, Old Navy LLC,
  Guess? Inc., Saks Incorporated, Club Libby Lu, Inc., Limited Brands, Inc., Victoria’s Secret Stores, LLC, Urban Outfitters, Inc.,
  Anthropologie, Inc., and Free People, LLC (E.D. Tex. 2008); Clear with Computers, LLC v. Apple, Inc. (E.D. Tex. 2008); Clear with
  Computers, LLC v. Bassett Furniture Industries, Inc., The Boeing Company, Brunswick Corporation, Sea Ray Boats, Inc., Boston Whaler,
  Inc., Cabela’s, Inc., eBay, Inc., Halliburton Company, Herman Miller, Inc., Pitney Bowes, Inc., Polaris Industries, Inc., QVC, Inc., and Tommy
  Hilfiger USA, Inc. (E.D. Tex. 2009); Clear with Computers, LLC v. Hyundai Heavy Industries Co., Ltd., Chico’s Brands Investments, Inc.,
  and Pacific Sunwear of California, Inc. (E.D. Tex. 2009); Clear With Computers, LLC v. Kubota Tractor Corporation (E.D. Tex. 2012); and
  Clear With Computers, LLC v. Valmont Industries, Inc. (E.D. Tex. 2013) – Obtained dismissal for Club Libby Lu and favorable settlements
  for Isuzu, Canon, Uniden, Kohler, Callaway, Plantronics, Altec Lansing, Haier, Bed Bath & Beyond, Buy Buy Baby, Dillard’s, Gap,
  Banana Republic, Old Navy, Guess?, Saks, Limited Brands, Victoria’s Secret, Urban Outfitters, Anthropologie, Free People, Apple,
  Bassett, Boeing, Brunswick, Sea Ray, Boston Whaler, Cabela’s, eBay, Halliburton, Herman Miller, Pitney Bowes, Polaris, QVC, Tommy
  Hilfiger, Hyundai, Chico’s, PacSun, Kubota, and Valmont in patent infringement suits concerning electronic proposal preparation
  system patents and a computer assisted part sales method patent.

  Gemini IP, LLC v. Citrix Systems, Inc. (E.D. Tex. 2007) – Obtained a favorable settlement for Citrix in patent infringement suit concerning
  remote access software.




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  Accolade Systems LLC v. Citrix Systems, Inc. (E.D. Tex. 2007) – Obtained summary judgment for Citrix in patent infringement case
  involving remote access software by successfully arguing that Citrix had been released pursuant to a co-Defendant’s settlement
  agreement with the Plaintiff.

  MHL Tek, LLC v. Subaru of America, Inc., Subaru of Indiana Automotive, Inc., and Fuji Heavy Industries, Ltd. (E.D. Tex. 2007 and Fed. Cir.)
  and MHL Tek, LLC v. Mitsubishi Motors North America, Inc. (E.D. Tex. 2008) – Obtained dismissal of Fuji, dismissal of two of three
  asserted patents based on a lack of standing, and summary judgment of non-infringement with respect to the third asserted patent for
  Subaru of America and Subaru of Indiana Automotive in case involving tire pressure monitoring system patents. The Federal Circuit
  affirmed the District Court’s lack of standing ruling and found the District Court’s non-infringement ruling moot after holding that there
  was a standing problem with the third patent as well (and thus reversing the District Court’s ruling on the third patent standing issue).
  Also obtained dismissal for Mitsubishi Motors in a separate action.

  Parallel Networks, LLC v. Netflix, Inc. (E.D. Tex. 2007); Parallel Networks, LLC v. Orbitz, LLC and Priceline.com, Inc. (E.D. Tex. 2008); and
  Parallel Networks, LLC v. Orbitz Worldwide, Inc. (E.D. Tex. 2010) – After obtaining a favorable claim construction ruling on behalf of
  Netflix, Orbitz, and Priceline, which led to the effective invalidity of the two patents in suit, the Plaintiff abandoned its case two days
  before the Court’s hearing on Netflix’s, Orbitz’s, and Priceline’s motion for summary judgment of invalidity by filing a covenant not to
  sue Netflix, Orbitz, and Priceline, an emergency motion to cancel the invalidity hearing, and a motion to dismiss Netflix, Orbitz, and
  Priceline with prejudice. The two patents in suit relate to the concept of offloading dynamic web page generation requests from a web
  server to an application server.

  DataTern, Inc. v. Avis Budget Group, Inc. and Hertz Corporation (E.D. Tex. 2009); DataTern, Inc. v. ConocoPhillips Company (E.D. Tex.
  2009); DataTern, Inc. v. The Bank of New York Mellon Corporation, Eagle Investment Systems LLC, Pershing LLC, and Goldman, Sachs &
  Co. (E.D. Tex. 2010); DataTern, Inc. v. Iron Mountain, Inc. (E.D. Tex. 2010); DataTern, Inc. v. URS Corporation (E.D. Tex. 2010); and
  DataTern, Inc. v. Harley-Davidson, Inc. (E.D. Tex. 2011) – Obtained favorable settlements for Avis Budget, Hertz, ConocoPhillips, Bank
  of New York Mellon, Eagle Investment, Pershing, Goldman Sachs, Iron Mountain, URS, and Harley-Davidson in patent infringement
  suits concerning middleware software that facilitates communication between an object oriented program and a relational database.

  TQP Development, LLC v. Barclays Bank PLC and Amazon.com, Inc. (E.D. Tex. 2009); TQP Development, LLC v. Ticketmaster
  Entertainment, Inc. (E.D. Tex. 2009); TQP Development, LLC v. Delta Air Lines, Inc., BigMachines, Inc., Transamerica Life Insurance
  Company, and Bank of New York Mellon Corporation (E.D. Tex. 2010); TQP Development, LLC v. Allianz Life Insurance Company of North
  America, CNA Financial Corporation, Dodge &Cox, OppenheimerFunds, Inc., Nationwide Investment Services Corporation, and Nationwide
  Mutual Insurance Company (E.D. Tex. 2011); TQP Development, LLC v. CHS, Inc., New York Life Insurance Company, New York Life
  Insurance and Annuity Corporation, and Massachusetts Mutual Life Insurance Company (E.D. Tex. 2011); TQP Development, LLC v.
  Orbitz, LLC, Hotwire, Inc., and Expedia, Inc. (E.D. Tex. 2011); TQP Development, LLC v. Deere & Company (E.D. Tex. 2011); TQP
  Development, LLC v. PepsiCo, Inc. (E.D. Tex. 2011); TQP Development, LLC v. Oriental Trading Company, Inc. (E.D. Tex. 2012); TQP
  Development, LLC v. Google Inc. (E.D. Tex. 2012); TQP Development, LLC v. Hertz Corporation (E.D. Tex. 2012); TQP Development, LLC
  v. Carestream Health, Inc. (E.D. Tex. 2014); TQP Development, LLC v. Bed Bath & Beyond (E.D. Tex. 2014); TQP Development, LLC v.
  Brooks Brothers Group, Inc. (E.D. Tex. 2014); TQP Development, LLC v. Frontier Airlines, Inc. (E.D. Tex. 2014); and TQP Development,
  LLC v. Allied Electronics, Inc. (E.D. Tex. 2014) – Obtained summary judgment of non-infringement for Hertz in suit involving SSL
  technology. Also obtained dismissal of Ticketmaster, CHS, MassMutual, Oriental Trading, Carestream Health, Bed Bath & Beyond,
  Brooks Brothers, Frontier Airlines, and Allied Electronics and favorable settlements for Barclays, Amazon, Delta, BigMachines,
  Transamerica, Bank of New York Mellon, Oppenheimer, Nationwide, New York Life, Allianz, CNA Financial, Orbitz, Hotwire, Deere,
  PepsiCo, Expedia, and Google.

  Landmark Technology, LLC v. Fossil, Inc., Coach, Inc., and Select Comfort Corporation (E.D. Tex. 2009); Landmark Technology, LLC v.
  Tiffany & Co., Dillard’s, Inc., Urban Outfitters, Inc., CVS Caremark Corp., and RadioShack Corp. (E.D. Tex. 2010); Landmark Technology,
  LLC v. Hastings Entertainment, Inc., Books-A-Million, Inc., Tuesday Morning Corporation, BJ’s Wholesale Club, Inc., and Ulta Salon,
  Cosmetics & Fragrance, Inc. (E.D. Tex. 2010); Landmark Technology, LLC v. Tech for Less, Inc. (E.D. Tex. 2011); Landmark Technology,
  LLC v. Wolverine World Wide, Inc. (E.D. Tex. 2012); Landmark Technology, LLC v. Jos. A. Bank Clothiers, Inc. (E.D. Tex. 2012); Landmark
  Technology, LLC v. Fifth & Pacific Companies, Inc., Kate Spade, LLC, Juicy Coture, Inc., and Lucky Brand Dungarees, Inc. (E.D. Tex.
  2012); Landmark Technology, LLC v. Briggs & Stratton Corporation (E.D. Tex. 2013); Landmark Technology, LLC v. The Jones Group Inc.
  (E.D. Tex. 2013); and Landmark Technology, LLC v. Harley-Davidson, Inc. (E.D. Tex. 2014) – Obtained extremely favorable settlements
  for Fossil, Coach, Select Comfort, Tiffany, Dillard’s, Urban Outfitters, CVS, RadioShack, Hastings, Books-A-Million, Tuesday Morning,
  BJ’s Wholesale, Ulta, Tech for Less, Wolverine, Jos. A. Bank, Fifth & Pacific/Kate Spade/Juicy/Lucky, Briggs & Stratton, Jones Group,
  and Harley-Davidson in patent infringement actions relating to e-commerce technology.




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  WebMap Technologies LLC v. Travelocity.com, Inc., Expedia, Inc., TripAdvisor LLC, IAC/InterActiveCorp, Citysearch, LLC, and City
  Accommodations Network, Inc. (E.D. Tex. 2009) – Obtained favorable settlements for Travelocity, Expedia/TripAdvisor, IAC/Citysearch,
  and City Accommodations Network in patent infringement suit against Acacia entity WebMap concerning interactive website mapping
  technology.

  EMG Technology, LLC v. Priceline.com, Inc. (E.D. Tex. 2009); EMG Technology, LLC v. Barnes & Noble, Inc. (E.D. Tex. 2009); EMG
  Technology, LLC v. Burger King Holdings, Inc., McDonald’s Corporation, and Domino’s Pizza, Inc. (E.D. Tex. 2010); EMG Technology, LLC
  v. Avis Budget Group, Inc., Kohl’s Corporation , and Tiffany & Co. (E.D. Tex. 2011); EMG Technology, LLC v. Goodyear Tire & Rubber
  Company (E.D. Tex. 2012); EMG Technology, LLC v. Romano’s Macaroni Grill Inc. (E.D. Tex. 2013); and EMG Technology, LLC v.
  Doctor’s Associates Inc. d/b/a Subway (E.D. Tex. 2014) – Obtained dismissal of Domino’s, Romano’s, and Subway and favorable
  settlements for Priceline, Barnes & Noble, Burger King, McDonald’s, Tiffany, Kohl’s, Avis Budget, and Goodyear, in patent infringement
  suits involving mobile wireless web browsing technology.

  SFA Systems, LLC v. Barnes & Noble Inc., Barnesandnoble.com LLC, and J&R Electronics Inc. (E.D. Tex. 2009); SFA Systems, LLC v.
  BigMachines, Inc., Carestream Health, Inc., Ricoh Americas Corporation, and Enterasys Networks, Inc. (E.D. Tex. 2010); and SFA
  Systems, LLC v. Dollar Tree, Inc. (E.D. Tex. 2010) – Obtained favorable settlements for Barnes & Noble, J&R, BigMachines, Carestream,
  Ricoh, Enterasys, and Dollar Tree in patent infringement suits concerning computerized sales force automation.

  Phoenix Licensing, L.L.C. v. Barclays PLC, Barclays Bank PLC, and Barclays Bank Delaware (E.D. Tex. 2009); Phoenix Licensing, L.L.C. v.
  Comerica Inc., M&I Marshall & Ilsley Bank, M&I FSB, Transamerica Affinity Services, Inc., AEGON USA, Inc., AEGON Direct Marketing
  Services, Inc., Stonebridge Life Insurance Company, and Monumental Life Insurance Company (E.D. Tex. 2010); Phoenix Licensing, L.L.C.
  v. Colonial Penn Life Insurance Company, CNO Financial Group, Inc., CUNA Mutual Insurance Agency, Inc., CUNA Mutual Insurance
  Society, CUNA Mutual Life Insurance Co., and Members Life Insurance Co. (E.D. Tex. 2011); Phoenix Licensing, L.L.C. v. Sovereign Bank
  (E.D. Tex. 2011); and Phoenix Licensing, L.L.C. v. Nationwide Mutual Insurance Company, Nationwide Bank, Nationwide Investment
  Services Corporation, Nationwide Property & Casualty Company, Nationwide Lloyds Company, and Allied Property and Casualty Insurance
  Company (E.D. Tex. 2012) – Obtained dismissal for Comerica, CUNA, Sovereign, Colonial, and Nationwide, and settlements for
  Barclays, Transamerica/AEGON/Stonebridge/Monumental, and M&I, in patent infringement suits involving e-commerce technology.

  Realtime Data, LLC d/b/a IXO v. Penson Worldwide, Inc. (E.D. Tex. 2009) – Obtained dismissal of Penson in patent infringement action
  relating to accelerated data storage, retrieval, and compression methods.

  Stambler v. Ticketmaster Entertainment, Inc., Expedia, Inc., Hotels.com, LP, Sabre Holdings Corporation, and Travelocity.com LP (E.D. Tex.
  2009); Stambler v. USAA Federal Savings Bank and MoneyGram International, Inc. (E.D. Tex. 2010); Stambler v. Atmos Energy Corp.,
  Orbitz Worldwide, Inc., Orbitz, LLC, and Priceline.com, Inc. (E.D. Tex. 2010); and Stambler v. First Citizens Bank & Trust Company and First
  Citizens Bancshares, Inc. (E.D. Tex. 2012) – Obtained favorable settlements for Ticketmaster, Expedia, Hotels.com, Sabre, Travelocity,
  USAA, MoneyGram, Atmos, Orbitz, Priceline, and First Citizens in patent infringement actions relating to SSL authentication and
  encryption.

  Parallel Networks, LLC v. Netflix, Inc. (E.D. Tex. 2010 and Fed. Cir. 2013); Parallel Networks, LLC v. Flairview Travel PTY Ltd. and
  Flightbookers Ltd. (E.D. Tex. 2010 and Fed. Cir. 2013); Parallel Networks, LLC v. TripAdvisor LLC, IAC/InterActiveCorp, Tiffany and
  Company, Brain Busters, LLC, Brawn, LLC, US Airways, Inc., Delta Air Lines, Inc., Oriental Trading Company, Inc., Cabela’s, Inc., Barnes &
  Noble, Inc., Barnesandnoble.com, LLC, Onestop Internet, Inc., and Iconix Brand Group, Inc. (E.D. Tex. 2010 and Fed. Cir. 2013); Parallel
  Networks, LLC v. Orbitz, LLC, Orbitz Worldwide, Inc., Kayak Software Corporation, Shoebuy.com, Inc., Musician’s Friend, Inc., Andersen
  Windows, Inc., Mitsubishi Motors North America, Inc., Wolverine World Wide, Inc., Sunglass Hut Trading, LLC, The Goodyear Tire & Rubber
  Company, Citizen Watch Company of America, Inc., Dillard’s, Inc., Subaru of America, Inc., ASICS America Corporation, Jones Investment
  Company, Inc., and Jones Retail Corporation (E.D. Tex. 2010 and Fed Cir. 2013); and Parallel Networks, LLC v. Fossil, Inc. and Brooks
  Brothers, Inc. (D. Del. 2012) – In the first early Markman/Summary Judgment procedure ever implemented in the Eastern District of
  Texas, obtained summary judgment of non-infringement for Netflix, Flairview Travel, Flightbookers, TripAdvisor, IAC/InterActiveCorp,
  Brain Busters, LLC, Brawn, US Airways, Delta Air Lines, Oriental Trading, Cabela’s, Barnes & Noble, Onestop Internet, Iconix, Sunglass
  Hut, Goodyear, Citizen Watch, Dillard’s, Subaru, ASICS, and Jones Retail in patent infringement suits involving the dynamic generation
  of an applet (and Parallel’s assertion that its patent reads on the use of AJAX – asynchronous JavaScript and XML). The Federal
  Circuit affirmed the non-infringement ruling. Also obtained second summary judgment of non-infringement for Orbitz, Kayak,
  Shoebuy, Musician’s Friend, Andersen Windows, Wolverine World Wide, Fossil, and Brooks Brothers and favorable settlements for
  Tiffany and Mitsubishi.




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  Microlog Corp. v. CVS Pharmacy, Inc. and La Quinta Corporation (E.D. Tex. 2010) – Obtained extremely favorable settlement for CVS
  and La Quinta in patent infringement action relating to unified customer contact technology.

  Condatis LLC v. Bombardier Inc., Brunswick Corporation, Mercury Marine, and Cummins MerCruiser Diesel Marine (E.D. Tex. 2010) –
  Obtained extremely favorable settlement for Bombardier, Brunswick, Mercury Marine, and Cummins MerCruiser in patent infringement
  case concerning realtime sensing of parameters in a powered vehicle.

  Abridge Technology (f/k/a Actus, LLC) v. MoneyGram International, Inc. (E.D. Tex. 2010) and Abridge Technology v. Doctor’s Associates
  Inc. d/b/a Subway (E.D. Tex. 2011) – Obtained dismissal of MoneyGram, and extremely settlement for Subway, in patent infringement
  suits relating to electronic token payment technology.

  Ganas, LLC v. Sabre Holdings Corporation (E.D. Tex. 2010) – Obtained favorable settlement for Sabre in patent infringement case
  relating to Internet firewall technology.

  CEATS, Inc. v. United Air Lines, Inc., Continental Airlines, Inc., Delta Air Lines, Inc., US Airways, Inc., Virgin America, Inc., Ticketmaster, LLC,
  Live Nation Worldwide, Inc., and TicketsNow.com, Inc. (E.D. Tex. 2010 and Fed Cir.) – Pursuant to jury trial, invalidated 4 claims from 4
  patents on behalf of United, Continental, Delta, US Airways, Virgin, Ticketmaster, Live Nation, and TicketsNow based on anticipation
  and obviousness in patent infringement suit concerning interactive seat map technology. The Federal Circuit affirmed the jury’s
  invalidity verdict on appeal.

  Global Sessions LP v. Orbitz Worldwide, Inc., Orbitz Worldwide, LLC, Orbitz, Inc., Orbitz, LLC, and Trip Network, Inc. (d/b/a CheapTickets)
  (E.D. Tex. 2010) and Global Sessions LP v. Priceline.com, Inc. (E.D. Tex. 2010) – Obtained favorable settlements for Orbitz and Priceline
  in cases concerning global session state server technology.

  GeoTag, Inc. v. Dollar Tree, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. Hinkley Lighting, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. Seven For All
  Mankind, LLC (E.D. Tex. 2010); GeoTag, Inc. v. Richemont North America, Inc. and Van Cleef & Arpels, Inc. (E.D. Tex. 2010); GeoTag, Inc.
  v. Sterling Jewelers, Inc. and Kay Jewelers, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. ASICS Corporation and ASICS America Corporation (E.D.
  Tex. 2010); GeoTag, Inc. v. Brookstone Company, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. BJ’s Wholesale Club, Inc. (E.D. Tex. 2010);
  GeoTag, Inc. v. Tiffany & Co. (E.D. Tex. 2010); GeoTag, Inc. v. Chanel, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. The Sports Authority, Inc.
  (E.D. Tex. 2010); GeoTag, Inc. v. Cabela’s, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. CiCi Enterprises, LP (E.D. Tex. 2010); GeoTag, Inc. v.
  Rhino Linings Corp. (E.D. Tex. 2010); GeoTag, Inc. v. Interstate Battery System of America, Inc. (E.D. Tex. 2010); GeoTag, Inc. v.
  Southern States Cooperative (E.D. Tex. 2010); GeoTag, Inc. v. Winn-Dixie Stores, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. Best Maid
  Products, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. PIP, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. Learning Express Inc. (E.D. Tex. 2010);
  GeoTag, Inc. v. TASER International, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. Kohler Co. (E.D. Tex. 2010); GeoTag, Inc. v. Kubota Corporation
  and Kubota Tractor Corporation (E.D. Tex. 2010); GeoTag, Inc. v. Gates That Open, LLC. (E.D. Tex. 2010); GeoTag, Inc. v. Mexican
  Restaurants, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. The Boeing Company (E.D. Tex. 2010); GeoTag, Inc. v. Polo Ralph Lauren Corp. and
  Ralph Lauren Media, LLC (E.D. Tex. 2010); GeoTag, Inc. v. Burger King Corp. (E.D. Tex. 2010); GeoTag, Inc. v. Jack in the Box, Inc. (E.D.
  Tex. 2010); GeoTag, Inc. v. Dollar Rent A Car, Inc. and Dollar Thrifty Automotive Group, Inc. (E.D. Tex. 2010); GeoTag, Inc. v. Avis Budget
  Group, Inc. and Avis Rent A Car System, LLC (E.D. Tex. 2010); GeoTag Inc. v. Payless Car Rental System, Inc. (E.D. Tex. 2010); GeoTag,
  Inc. v. Ticketmaster, LLC, Ticketmaster Entertainment, LLC, Live Nation Entertainment, Inc., and Live Nation Worldwide, Inc. (E.D. Tex.
  2010); GeoTag, Inc. v. RadioShack Corp. (E.D. Tex. 2010); GeoTag, Inc. v. Ulta Salon, Cosmetics & Fragrance, Inc. (E.D. Tex. 2011);
  GeoTag, Inc. v. American Greetings Corporation (E.D. Tex. 2011); GeoTag, Inc. v. Vitamin Cottage Natural Foods Markets, Inc. (E.D. Tex.
  2011); GeoTag, Inc. v. David’s Bridal Inc. (E.D. Tex. 2011); GeoTag, Inc. v. Formal Specialists, Ltd. (E.D. Tex. 2011); GeoTag, Inc. v.
  Guess? Inc. (E.D. Tex. 2011); GeoTag, Inc. v. Hot Topic Inc. (E.D. Tex. 2011); GeoTag, Inc. v. Luxottica Retail North America Inc. (E.D.
  Tex. 2011); and GeoTag, Inc. v. Charming Shoppes Inc. (E.D. Tex. 2011) – Obtained dismissal for Ralph Lauren, Burger King, Jack in the
  Box, Dollar Thrifty, Avis Budget, Ticketmaster/Live Nation, RadioShack, Luxottica, and Charming in patent infringement suits relating
  to website store location technology. Also obtained favorable settlements for Dollar Tree, Hinkley Lighting, Seven For All Mankind,
  Richemont, Sterling Jewelers, ASICS, Brookstone, BJ’s, Tiffany, Chanel, Sports Authority, Cabela’s, Cici’s, Rhino Linings, Interstate
  Battery, Southern States Cooperative, Winn-Dixie, Best Maid, PIP, Learning Express, TASER, Kohler, Kubota, Gates Than Open,
  Mexican Restaurants, Ulta, American Greetings, Vitamin Cottage, David’s Bridal, Formal Specialists, Guess?, Hot Topic, and Boeing.

  Innovatio IP Ventures, LLC v. LQ Management LLC (N.D. Ill. 2011) – Obtained favorable settlement for La Quinta in connection with
  patent infringement suit involving WiFi technology.

  Unified Messaging Solutions LLC v. Atmos Energy Corp., Atmos Energy Services, LLC, Reliant Energy Retail Holdings, LLC, and TXU
  Energy Retail Company LLC (E.D. Tex. 2011); Unified Messaging Solutions LLC v. Match.com, Inc., eHarmony, Inc., and LinkedIn




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  Corporation (E.D. Tex. 2011); Unified Messaging Solutions, LLC v. United Service Automobile Association (W.D. Tex. 2013 and MDL N.D.
  Ill.); Unified Messaging Solutions, LLC v. BBVA Compass Bancshares, Inc. (W.D. Tex. 2013 and MDL N.D. Ill.); and Unified Messaging
  Solutions LLC v. First Citizens (N.D. Tex. 2013 and MDL N.D. Ill.) – After obtaining favorable claim construction resulting in non-
  infringement by clients USAA and BBVA Compass in cases involving web mail technology, Unified Messaging took adverse judgment.
  Obtained favorable settlements for Atmos, Reliant, TXU, Match, eHarmony, LinkedIn, and First Citizens.

  Dexas International, Ltd. v. Dollar Tree Stores, Inc. and Greenbrier International, Inc. (E.D. Tex. 2011) – Obtained favorable settlement for
  Dollar Tree in patent infringement suit concerning a cutting board scoop.

  Ogma, LLC v. Haier Group Company and Haier America Trading, LLC (E.D. Tex. 2011) – Obtained extremely favorable settlement for
  Haier in patent infringement case concerning HDTV aspect ratio technology.

  H-W Technology L.C. v. Orbitz Worldwide, Inc. (N.D. Tex. 2011) – Obtained extremely favorable settlement for Orbitz in patent
  infringement action relating to the use of a smartphone to access a mobile website to order goods and services.

  ArrivalStar S.A. v. True Religion Sales, LLC (S.D. Fla. 2011); ArrivalStar S.A. v. Virgin America, Inc. (N.D. Ill. 2011); ArrivalStar S.A. v. Coach,
  Inc. (S.D. Fla. 2012); and ArrivalStar S.A. v. Gatorade (S.D. Fla. 2013) – Obtained extremely favorable settlements for True Religion,
  Virgin, Coach, and Gatorade in patent infringement cases concerning vehicle monitoring and notification systems.

  Alloqate, LLC v. Orbitz, LLC, Expedia, Inc., Hotwire, Inc., Travelocity.com LP, and Kayak Software Corporation (D. Del. 2011) – Obtained
  dismissal for Orbitz, Expedia, and Hotwire, and extremely favorable settlements for Travelocity and Kayak, in connection with patent
  infringement suit relating to website price alert technology.

  LBS Innovations LLC v. Hotels.com, LP (E.D. Tex. 2011) – Obtained dismissal for Hotels.com in patent infringement suit relating to
  website geographic search locator feature.

  Valmont Industries, Inc. v. Lindsay Corporation (E.D. Tex. 2011) – Obtained favorable settlement for Valmont in patent infringement suit
  involving variable application of irrigation water and chemicals.

  Variant, Inc. v. Dollar Rent A Car, Inc. and Dollar Thrifty Automotive Group, Inc. (E.D. Tex. 2011); Variant, Inc. v. Hertz Corporation and Avis
  Budget Group, Inc. (E.D. Tex. 2011) – Obtained favorable settlements for Dollar Thrifty, Hertz, and Avis Budget in patent infringement
  suits involving e-commerce technology.

  Reshare Commerce, LLC v. Nationwide Mutual Insurance Company (D. Minn. 2011) – Obtained extremely favorable settlement for
  Nationwide in patent infringement action involving a computerized sales system.

  Network Signatures, Inc. v. Nationwide Mutual Insurance Company (C.D. Cal. 2011) – Obtained extremely favorable settlement for
  Nationwide in patent infringement suit involving SSL encryption.

  Select Retrieval, LLC v. Tiffany & Co., Oriental Trading Company, Inc., Tech for Less, Inc., and Hanover Direct, Inc. (D. Del. 2011) –
  Obtained dismissal of Oriental Trading, and extremely favorable settlements for Tiffany, Tech For Less, and Hanover Direct in
  connection with patent infringement action involving e-commerce technology.

  Walker Digital, LLC v. Expedia, Inc. (D. Del. 2011) – On behalf of Expedia, obtained dismissal of one lawsuit and summary judgment in
  two additional lawsuits in 3 e-commerce cases against Jay Walker’s Walker Digital entity.

  ICON Internet Competence Network B.V. v. Travelocity LP (N.D. Tex. 2011 and Fed. Cir. 2014) – Obtained summary judgment of non-
  infringement for Travelocity within weeks of trial in suit involving hotel search technology. The Federal Circuit affirmed the non-
  infringement ruling. After an award of costs to Travelocity and facing Travelocity’s motion for attorneys’ fees, ICON assigned its patent
  to Travelocity.

  DietGoal Innovations LLC v. Doctor’s Associates Inc. d/b/a Subway (E.D. Tex. 2011); DietGoal Innovations LLC v. Red Robin International,
  Inc. (E.D. Tex. 2011); and DietGoal Innovations LLC v. Chipotle Mexican Grill, Inc. (E.D. Tex. 2012) – Obtained summary judgment of
  invalidity based on Section 101 in patent infringement actions relating to electronic meal planning systems.

  LVL Patent Group, LLC v. Hertz Corporation (D. Del. 2011); LVL Patent Group, LLC v. Avis Budget Group, Inc. (D. Del. 2011); and LVL
  Patent Group, LLC v. Orbitz Worldwide, LLC (D. Del. 2011) – Obtained summary judgment of invalidity based on Section 101 in patent
  infringement suits concerning processing of data transmitted via a smartphone.




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  SmartFit Solutions LLC v. BJ’s Wholesale Club, Inc. (E.D. Tex. 2011) – Obtained dismissal for BJ’s in patent infringement case involving
  exercise equipment software.

  Disposition Services LLC v. Arrow-Intechra LLC (E.D. Tex. 2012) – Obtained extremely favorable settlement for Arrow-Intechra in patent
  infringement action involving a method of controlled asset distribution (e.g., disassembly of computers and sale of their parts).

  MacroSolve, Inc. v. LQ Management LLC (E.D. Tex. 2012) and MacroSolve, Inc. v. Bed Bath & Beyond, Inc. (E.D. Tex. 2012) – Obtained
  extremely favorable settlements for La Quinta and Bed Bath & Beyond in patent infringement suits involving a system for collecting
  information from multiple computing devices.

  Cronos Technologies, LLC v. Fossil, Inc. (E.D. Tex. 2012) – Obtained extremely favorable settlement for Fossil in patent infringement
  case involving a remote ordering system.

  Interface IP Holdings LLC v. Delta Air Lines, Inc. (D. Del. 2012) and Interface IP Holdings LLC v. LQ Management LLC (D. Del. 2013) –
  Obtained extremely favorable settlements for Delta and La Quinta in patent infringement suits relating to a website drop down menu
  interface.

  Hopewell Culture & Design LLC v. Barnes & Noble, Inc. (E.D. Tex. 2012) – Obtained extremely favorable settlement for Barnes & Noble in
  patent infringement case involving interactivity with electronic content via a double click.

  Orientview Technologies LLC v. Spy Inc. (D. Del. 2012) and Orientview Technologies LLC v. Seven For All Mankind, LLC (S.D.N.Y. 2013) –
  Obtained extremely favorable settlements for Spy and Seven For all Mankind in patent infringement actions involving viewer specific
  presentation of information.

  Pragmatus Telecom, LLC v. Oriental Trading Company, Inc. (D. Del. 2012) – Obtained dismissal of Oriental Trading in patent infringement
  case involving Internet live chat technology.

  Traffic Information, LLC v. USAA Federal Savings Bank (E.D. Tex. 2013) – Obtained extremely favorable settlement for USAA in
  connection with patent infringement action relating to real time traffic display.

  Infinite Data, LLC v. McDonald’s Corporation (D. Del. 2013) – Obtained dismissal of McDonald’s in patent infringement suit involving
  InfiniBand Remote Direct Memory Access networking technology.

  CeeColor Industries LLC v. Citizen Watch Company of America, Inc. (D. Del. 2013) – Obtained dismissal of Citizen Watch in patent
  infringement action involving an electronic device security system with proximity sensing.

  Eclipse IP LLC v. Oriental Trading Company, Inc. (N.D. Ill. 2013) and Eclipse IP LLC v. Vitacost.com, Inc. (C.D. Cal. 2013) – Obtained
  extremely favorable settlements for Oriental Trading and Vitacost in patent infringement actions concerning e-commerce notification
  technology.

  Rotatable Technologies LLC v. TXU Energy Retail Company LLC (E.D. Tex. 2013 and Fed. Cir. 2014) – In light of favorable claim
  construction leading to non-infringement by client TXU in case involving smartphone screen rotation technology, Rotatable took
  adverse judgment and appealed to the Federal Circuit. The Federal Circuit affirmed.

  Innovative Wireless Solutions, LLC v. LQ Management LLC and La Quinta Inn Worldwide, LLC (E.D. Tex. 2013) – Obtained dismissal for La
  Quinta in patent infringement action relating to wireless access point technology.

  Innovative Automation v. Books-A-Million, Inc. (E.D. Tex. 2013) – Obtained favorable settlement for Books-a-Million in patent
  infringement suit involving digital data download technology.

  RPost Holdings, Inc. v. Nationwide Mutual Insurance Company (E.D. Tex. 2013) – Obtained dismissal of Nationwide in connection with
  patent infringement suit involving email authentication.

  UbiComm, LLC v. Vitacost.com, Inc. (D. Del. 2013); and UbiComm, LLC v. ModusLink Recovery LLC f/k/a Tech for Less LLC (D. Del.
  2013) – Obtained dismissal of Vitacost and ModusLink after Section 101 invalidity ruling in suits concerning product suggestion
  technology.




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  Geomembrane Technologies, Inc. v. URS Corporation (C.D. Cal. 2013) – Obtained extremely favorable settlement for URS in patent
  infringement action relating to water clarification.

  Telinit Technologies, LLC v. Uniden America Corporation (E.D. Tex. 2013) – Obtained extremely favorable settlement for Uniden in patent
  infringement suit relating to connecting two computers on a network via an intermediary static server.

  Amethyst IP, LLC v. Uniden America Corporation (E.D.N.Y. 2013) – Obtained extremely favorable settlement for Uniden in patent
  infringement suit concerning baby monitor technology.

  Annuitek, LLC v. USAA Life Insurance Company (E.D. Tex. 2013) – Obtained extremely favorable settlement for USAA in patent
  infringement action relating to electronic annuity illustrations.

  eDekka LLC v. Tiffany & Co. (E.D. Tex. 2014); eDekka LLC v. Jos. A. Bank Clothiers, Inc. (E.D. Tex. 2014); eDekka LLC v. Coach, Inc.
  (E.D. Tex. 2014); and eDekka LLC v. The Men’s Wearhouse, Inc. (E.D. Tex. 2014) – Obtained dismissal of Tiffany, Jos. A. Bank, Coach,
  and The Men’s Wearhouse in connection with patent infringement cases involving e-commerce shopping cart technology.

  Execware, LLC v. Bed Bath & Beyond, Inc. (D. Del. 2014) – Obtained dismissal of Bed Bath & Beyond in patent infringement action
  involving parametric search technology.

  Antennatech, LLC v. Guess? Retail, Inc. (D. Del. 2014); Antennatech, LLC v. Doctor’s Associates Inc. d/b/a Subway (D. Del. 2014);
  Antennatech, LLC v. The Sports Authority, Inc. (D. Del. 2014); Antennatech, LLC v. McDonald’s Corporation (D. Del. 2014); Antennatech,
  LLC v. AMC Entertainment Holdings, Inc. (D. Del. 2014); and Antennatech, LLC v. Regal Entertainment Group (D. Del. 2014) – Obtained
  dismissal of Guess?, Subway, Sports Authority, AMC Entertainment, and Regal Entertainment in connection with patent infringement
  actions involving Near Field Communication technology. Also obtained extremely favorable settlement for McDonald’s.

  Olivistar, LLC v. Uniden America Corporation (E.D. Tex. 2014); Olivistar, LLC v. Protection One, Inc. (E.D. Tex. 2014); Olivistar, LLC v.
  Somfy Systems, Inc. (E.D. Tex. 2014); and Olivistar, LLC v. Loxone, Inc. (E.D. Tex. 2014) – Obtained dismissal for Protection One and
  extremely favorable settlements for Uniden, Somfy, and Loxone in connection with patent infringement actions relating to security and
  home automation networking.

  Qommerce Systems, LLC v. Cabela’s Incorporated (E.D. Tex. 2014) – Obtained dismissal for Cabela’s in patent infringement suit
  involving e-commerce technology.




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                                                    David B. Conrad
                                                    Principal
                                                     Dallas, TX  214-747-5070  conrad@fr.com




  Background
  David Conrad is a Principal attorney in the Dallas office of Fish & Richardson. He provides legal services to clients in matters relating to
  business litigation, patent litigation, and trade secret litigation. Mr. Conrad’s clients benefit from his in-depth knowledge of computers,
  software, and engineering.

  In federal courts in Texas and across the country, Mr. Conrad handles patent and intellectual property disputes involving a wide range
  of technologies, including e-commerce and web site systems, computer network architecture, computer software, encryption, and
  semiconductors.

  He represents both companies accused of infringement and those seeking to enforce their intellectual property rights.

  In addition to patent litigation, Mr. Conrad’s practice involves navigating complicated business and civil disputes. He has represented
  clients on a variety of matters including breach of contract, partnership disputes, and trade secret theft.

  Mr. Conrad also tried criminal cases in the Dallas County District Attorney’s Office as part of its Lawyer on Loan program, where he
  picked the jury or first chaired more than ten jury trials, trying each of those cases to verdict.

  Prior to law school, Mr. Conrad worked at National Instruments in Austin, Texas, as a software engineer, where he developed system-
  level software and designed embedded computer systems for industrial applications. In his first year at National Instruments, the
  company’s research & development department recognized Mr. Conrad as the Rookie of the Year. During his engineering studies at
  the University of Texas, he worked for the Applied Research Laboratories where developed controller software and designed
  embedded computers for high-resolution underwater sonar systems for the U.S. Navy. Mr. Conrad is well-versed in numerous
  computer software languages including C, C++, SQL, HTML, PHP, XML, Ruby, Javascript, and Java.



  Services
   • Litigation
   • Commercial Litigation
   • Patent Litigation
   • Trade Secret Litigation


  Industries
   • Electrical and Computer Technology
   • Hardware
   • Internet
   • Semiconductors




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   • Software
   • Telecommunications



  Education
  J.D., University of Texas at Austin School of Law 2007
  Associate Editor, The Review of Litigation
  with honors



  B.S., University of Texas at Austin 2001
  Electrical Engineering



  Admissions
   • U.S. Patent and Trademark Office 2007
   • Texas 2007
   • U.S. Court of Appeals for the Federal Circuit
   • U.S. Court of Appeals for the Fifth Circuit
   • U.S. District Court for the Eastern District of Texas
   • U.S. District Court for the Northern District of Texas
   • U.S. District Court for the Western District of Texas



  Other Distinctions
  Named a Texas “Rising Star” for Intellectual Property, Super Lawyers, 2015

  Named a “Lawyer on the Rise,” Texas Lawyer, 2017

  Publications & Presentations

  Author, “Federal Circuit Takes Up Venue Burden Issue,” Fish Litigation Blog (February 23, 2018).

  Speaker, “Evidence of Prior Art at the PTAB: Rigorous Proof, or Else,” Intellectual Property Owners Association, Webinar, (January 19,
  2017).

  Author, “Federal Circuit Affirms the Dismissal of a Complaint That Insufficiently Pleaded Joint Infringement,” Fish Litigation Blog
  (October 13, 2016).

  “Mining the Patent Thicket: The Supreme Court’s Rejection of the Automatic Injunction Rule in eBay v. MercExchange,” Rev. Litig. 26,
  119 (2007).



  Experience
  Richard Garriott v. NCsoft Corp.: Obtained $28 million jury verdict for legendary computer game developer in lawsuit against Korean
  computer game manufacturer over breach of stock option agreement. (W.D. Tex.)

  ICON Internet Competence Network v. Travelocity.com LP (N.D. Tex.): Obtained summary judgment of non-infringement for Travelocity
  in patent infringement lawsuit involving web site systems for generating a virtual reality scene, where the plaintiff sought damages of
  over $25 million.

  Parallel Networks, LLC v. Abercrombie, Inc.; Parallel Networks, LLC v. AEO, Inc.; Parallel Networks, LLC v. Bentley Motors Inc. (E.D. Tex.):
  In the first early Markman/Summary Judgment procedure ever implemented in the Eastern District of Texas, obtained summary
  judgment of non-infringement for Netflix, Flairview Travel, Flightbookers, TripAdvisor, Brawn, US Airways, Delta Air Lines, Oriental
  Trading, Cabela’s, Barnes & Noble, Onestop Internet, Iconix, Sunglass Hut, Goodyear, Citizen Watch, Dillard’s, Subaru, ASICS, and




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David B. Conrad | Attorney - Dallas | Fish                               Page 3 of 3
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  Jones Retail in patent infringement suit involving the dynamic generation of an applet. Obtained Federal Circuit affirmance of the
  dismissal.

  DDR Holdings, LLC v. Hotels.com, L.P. (E.D. Tex.): Defended Travelocity, Expedia, and Orbitz in a patent infringement lawsuit involving
  a web site system for matching the look and feel of an affiliate website.

  TQP Development, LLC v. Barclays Plc., et al;(E.D. Tex.) TQP Development, LLC v. Ticketmaster Entertainment, Inc. (E.D. Tex.); TQP
  Development, LLC v. Bank of New York Mellon Corp. (E.D. Tex.): Represented Barclays, Live Nation, The Bank of New York Mellon,
  Delta Air Lines, TransAmerica, and other clients in patent infringement action involving SSL/TLS and web site encryption.

  Parallel Networks, LLC v. Netflix, Inc. (E.D. Tex.); Parallel Networks, LLC v. Orbitz, LLC and Priceline.com, Inc. (E.D. Tex.); and Parallel
  Networks, LLC v. Orbitz Worldwide, Inc. (E.D. Tex.): After procuring a favorable claim construction ruling on behalf of Netflix, Orbitz, and
  Priceline, obtained a covenant not to sue and dismissal with prejudice for Netflix, Orbitz, and Priceline without payment to the plaintiff.
  The two patents-in-suit relate to web server technology for dynamic load balancing.

  H-W Technology L.C. v. Orbitz Worldwide, Inc. (N.D. Tex.): Obtained extremely favorable settlement for Orbitz in patent infringement
  action relating to the use of a smartphone to access a mobile web site to order goods and services.

  Legacy Investments, Inc., et al. v. Bruce Thompson, et al. and Miro Vranac v. Mary Huddleston, et al.: Represented oil and gas investment
  firm in litigation against former executives for breach of contract, breach of fiduciary duty, and usurpation of corporate opportunity
  (Dallas, Tex.)

  HDNet MMA 2008 v. Zuffa, LLC: Represented Mark Cuban’s mixed-martial arts promoter over contract dispute involving fighter Randy
  Couture and Zuffa d/b/a Ultimate Fighting Championship. (Dallas, Tex.)




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                                                    Ricardo Bonilla
                                                    Associate
                                                     Dallas, TX  214-292-4012  rbonilla@fr.com




  Background
  Ricardo Bonilla is an Associate in Fish & Richardson’s Dallas office. He was previously a Summer Associate with the firm in 2010 and
  2011 after joining the firm via its 1L Diversity Fellowship Program. Mr. Bonilla’s practice includes all areas of commercial and
  intellectual property litigation, with an emphasis on patents.

  Mr. Bonilla has represented hundreds of clients in federal courts around the country in intellectual property disputes involving a wide
  range of technologies, including e-commerce and web site systems, computer network architecture, computer software, encryption,
  telecommunication, and mobile applications. Mr. Bonilla’s intellectual property practice has also involved multiple appeals where he
  has represented clients as both appellants and appellees before the United States Court of Appeals for the Federal Circuit.
  Additionally, Mr. Bonilla has represented many individuals and companies in Texas state and federal courts in commercial disputes
  and general litigation, as well as class action and qui tam litigations.

  Mr. Bonilla also served as an Assistant District Attorney in the Dallas County District Attorney’s Office as part of its Lawyer on Loan
  program. The program afforded him an opportunity to serve Dallas County as a misdemeanor prosecutor, where he picked the jury for
  or first chaired multiple jury trials, tried cases to the bench, and handled multiple hearings on State and defense motions.

  Prior to law school, Mr. Bonilla was a vulnerability research manager at Critical Watch before interning with Nortel, where he focused
  on the development and testing of multiple wireless technologies. He was also a software development intern for Eklin Information
  Systems, where he developed utilities for the company’s proprietary software using various programming languages, including C++,
  C#, SQL, HTML, and Java.



  Services
   • Litigation
   • Patent
   • Post-Grant
   • Trademark
   • Appellate
   • Commercial Litigation
   • False Claims Act and Qui Tam
   • ITC Litigation
   • Patent Litigation
   • Product Liability and Mass Torts
   • Trade Secret Litigation
   • Trademark, Copyright, and Media Litigation




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  Industries
   • Consumer Products
   • Digital Media and E-Commerce
   • Electrical and Computer Technology
   • Financial and Business Services
   • Internet
   • Telecommunications
   • Transportation



  Education
  J.D., Texas Tech University School of Law 2012
  magna cum laude, Order of the Coif, Order of Barristers, National Order of Scribes



  B.S., University of Texas at Dallas 2009
  Software Engineering
  cum laude



  Admissions
   • Texas 2012
   • U.S. Patent and Trademark Office 2009
   • U.S. Court of Appeals for the Federal Circuit
   • U.S. District Court for the Eastern District of Texas
   • U.S. District Court for the Northern District of Texas
   • U.S. District Court for the Southern District of Texas
   • U.S. District Court for the Western District of Texas
   • U.S. District Court for the Western District of Wisconsin
   • U.S. District Court for the Eastern District of Wisconsin



  Languages
   • English
   • Spanish



  Memberships & Affiliations
   • Leadership Council on Legal Diversity, City Lead (Dallas)
   • Dallas Bar Association
   • Dallas Association of Young Lawyers, Co-Chair of Lawyers Promoting Diversity Committee; 2016 Leadership Class
   • Dallas Hispanic Bar Association
   • Hispanic National Bar Association
   • Texas Association of Young Lawyers
   • Patent Trial and Appeal Board Bar Association



  Other Distinctions
  Accolades




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  On the Rise – Texas Lawyer, 2018

  On the Rise – Top 40 Young Lawyers by American Bar Association – Young Lawyers Division, 2018

  Leadership Council on Legal Diversity – Pathfinder, 2018

  Best Lawyer Under 40 by D Magazine, 2018

  Texas Rising Star by Super Lawyers, 2016-2018

  Named to Lawyers of Color’s Hot List, 2014

  Publications

  “Shifting the § 101 Burden,” Fish Litigation Blog, February 2016 (author).

  “Social Media Do’s and Don’ts – Discussing Ongoing Litigation,” Fish Litigation Blog, June 2015 (author).

  “Social Media Dos and Don’ts for Lawyers,” State Bar of Texas, Business Disputes course book, September 2014 (co-author).

  Contention Discovery Requests in Federal Cases in Texas: Punting in the First Quarter Could Lead to Disaster in the Fourth, Texas
  Young Lawyers Association eNews (October 2013).

  A Patented Lie: Analyzing the Worthiness of Business Method Patents After Bilski v. Kappos, 43 Texas Tech Law Review 1285 (Summer
  2011).



  Experience
  Inventor Holdings, LLC v. Bed Bath & Beyond Inc. (District of Delaware & United States Court of Appeals for the Federal Circuit):
  Obtained Federal Circuit affirmance of summary judgment of invalidity under 35 U.S.C. § 101 on behalf of Bed Bath & Beyond in
  patent infringement lawsuit involving the local processing of payments for orders placed remotely, as well as an award of attorneys’
  fees after a finding that the case was exceptional under § 285, which the Federal Circuit also affirmed.

  Cellspin Soft, Inc. v. Fossil Group, Inc., et al. (Northern District of California): Obtained grant of Rule 12(b)(6) dismissal under § 101 based
  on ineligibility of patents directed to acquiring, transferring, and publishing data, as well as an award of attorneys’ fees after a finding
  that the case was exceptional under § 285.

  Opal Run LLC v. C&A Marketing, Inc. (Eastern District of Texas): After forcing plaintiff to dismiss its case with prejudice without a
  settlement or payment, obtained grant of exceptional case finding under § 285 in case where plaintiff continued its pursuit of non-
  viable claims solely in an effort to avoid the risk of having to pay client’s attorney’s fees.

  Mantis Communications, LLC v. Baskin-Robbins Franchising, LLC, et al. (Eastern District of Texas): Obtained grant and Federal Circuit
  affirmance of Rule 12(b)(6) dismissal under § 101 based on ineligibility of patents directed to delivering content to mobile devices.

  Epic IP LLC v. Backblaze, Inc. (District of Delaware): Obtained grant of Rule 12(b)(6) dismissal under § 101 based on ineligibility of
  patent directed to online chat technology.

  Tangelo IP LLC v. Tupperware Brands Corporation. (District of Delaware): Obtained grant of Rule 12(b)(6) dismissal under § 101 based
  on ineligibility of patent directed to electronic catalog technology.

  Finnavations LLC v. Payoneer Inc. (District of Delaware): Obtained grant of Rule 12(b)(6) dismissal under § 101 based on ineligibility of
  patent directed to a financial management system.

  Secure Cam LLC v. Tend Insights, Inc. (Northern District of California): Obtained grant of Rule 12(b)(6) dismissal under § 101 based on
  ineligibility of patent directed to image recognition technology used in digital cameras.

  BSG Tech LLC v. Buyseasons, Inc. (Eastern District of Texas): Obtained grant and Federal Circuit affirmance of Rule 12(b)(6) dismissal
  under § 101 based on ineligibility of patents directed to considering historical usage information while inputting data.




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  Lindsay Corp. v. Valmont Industries Inc. (USPTO Patent Trial and Appeal Board): Obtained decision not to institute inter partes review in
  case involving client’s patent directed to systems for monitoring and controlling irrigation equipment.

  EMG Technology LLC v. Etsy Inc. (Eastern District of Texas): Obtained grant of Rule 12(b)(6) dismissal under § 101 based on ineligibility
  of patents directed to displaying information in a hierarchical tree format on a computer screen.

  Mankes v. Fandango, LLC and Regal Entertainment Group (Eastern District of North Carolina): Obtained grant and Federal Circuit
  affirmance of Rule 12(b)(6) dismissal under § 101 based on ineligibility of patent directed to allocating, tracking, and controlling
  inventory.

  Icon Laser Solutions, LLC v. Abercrombie & Fitch, Co.(Northern District of Texas): Obtained Rule 12(b)(6) dismissal for clients
  Abercrombie & Fitch, Aeropostale, American Eagle Outfitters, Ralph Lauren, and Nine West Holdings in patent infringement lawsuit
  involving methods for using lasers to color and fade textiles.

  Tiffany and Company v. Lazare Kaplan International, Inc. (USPTO Patent Trial and Appeal Board): Obtained final written decision
  invalidating claims relating to microinscribing the surface of a gemstone using a laser for Tiffany and Company as petitioner in inter
  partes review proceeding.

  TQP Development, LLC v. Intuit, Inc. et al. (Eastern District of Texas): Obtained summary judgment of non-infringement for Hertz in patent
  infringement lawsuit involving website encryption technology. Also represented clients Expedia, Orbitz, and Google in earlier cases against
  TQP, resulting in favorable settlements on the eve of trial.

  Scott H. Howard et al. v. Chiron Point Investment Fund I, LLC (Dallas, Texas): Obtained $2+ million jury verdict for plaintiffs in lawsuit
  against the purchaser of plaintiffs’ business over breach of purchase agreement, along with an award of all attorneys’ fees and costs.

  ICON Internet Competence Network v. Travelocity.com LP (Northern District of Texas & United States Court of Appeals for the Federal
  Circuit): Obtained Federal Circuit affirmance of summary judgment of non-infringement for Travelocity in patent infringement lawsuit
  involving web site systems for generating a virtual reality scene, where the plaintiff sought damages of over $25 million. The plaintiff
  eventually assigned its patents to Travelocity to end the lawsuit.

  Joshua J. Eisner v. Teletech Services Corporation (Western District of Missouri): Obtained dismissal with prejudice of claims against
  defendant Teletech Services Corporation in case involving class-action lawsuit alleging violations of Fair Credit Reporting Act.

  Landmark Technology, LLC v. Assurant, Inc. (Eastern District of Texas): Obtained Magistrate Judge’s Report & Recommendation to
  grant Rule 12(b)(6) motion to dismiss based on asserted patent’s failure to claim patent-eligible subject matter under § 101.

  E2E Processing, Inc. v. Cabela’s Incorporated (Eastern District of Texas): Obtained dismissal with prejudice of Cabela’s in case involving
  end-to-end processing technology.




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                                                    Michael Vincent
                                                    Associate
                                                     Dallas, TX  214-760-6154  vincent@fr.com




  Background
  Michael Vincent is an Associate in the Dallas office of Fish & Richardson. His practice focuses on patent litigation across a wide range
  of technologies, primarily in the fields of electrical engineering, computer science, and the mechanical arts. Mr. Vincent represents
  companies accused of infringement as well as those seeking to enforce their intellectual property rights.

  Mr. Vincent has served as a Judicial Intern for The Honorable K. Nicole Mitchell at the United States District Court for the Eastern
  District of Texas and worked as a technical consultant for a patent prosecution firm. In his prior career, Mr. Vincent was a helicopter
  engineer specializing in flight controls and hydraulics.



  Services
   • Litigation



  Education
  J.D., New York University School of Law 2017



  B.S., University of Texas 2011
  Aerospace Engineering



  Admissions
   • United States Patent and Trademark Office 2014
   • Texas 2017
   • U.S. District Court for the Eastern District of Texas
   • U.S. District Court for the Northern District of Texas



  Other Distinctions
  Selected Publications

  EDTX & NDTX Monthly Wrap-Up — March 2018, Fish Litigation Blog, April 2018




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